                                                                               Motion GRANTED.
                                                                               A status hearing is set for
                                                                               9/28/2022 at 1:00 p.m.


                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

UNITED STATES OF AMERICA                             )
                                                     )
VS                                                   ) CASE NO. 3:21-CR-95
                                                     ) JUDGE TRAUGER
ALEXANDER FRIEDMANN                                  )

           JOINT MOTION FOR STATUS ON PRE-SENTENCE REPORT
       Comes now the Defendant, Mr. Alexander Friedmann, by and through undersigned

Counsel of record, Mr. Manuel B. Russ, and the United States of America, represented by Mr.

Robert McGuire, and motion the Court to set this matter for a status on the progress of the

presentence report and interview process.



Respectfully Submitted,


/s/ Manuel B. Russ                                   /s/ Robert McGuire
Manuel B. Russ #23866                                Robert McGuire
Attorney for the Defendant                           Attorney for the United States of America
340 21st Avenue North                                719 Church Street
Nashville, TN 37203                                  Nashville, TN 37203
(615) 329-1919                                       (615) 736-5151




                                CERTIFICATE OF SERVICE
       I do hereby certify that on this the 9th day of September, 2022, a true and exact copy of the
foregoing Notice has been delivered, via the Court’s electronic filing system to Mr. Robert
McGuire of the United States Attorney’s Office, US Courthouse, 719 Church Street, Nashville,
TN 37203.


                                                     /s Manuel B. Russ
                                                     MANUEL B. RUSS


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